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 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                         CASE NO. 2:11-cr-0190 MCE

12                               Plaintiff,            ORDER GRANTING GOVERNMENT’S MOTION
                                                       TO DISMISS INDICTMENT AGAINST
13                         v.                          DEFENDANT FRANK ALIOTO

14   NICHOLAS RAMIREZ, et al.,

15                               Defendants.

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17         For the reasons set forth in the motion to dismiss filed by the United States (ECF No. 141.), the
18 Indictment against defendant Frank ALIOTO is hereby DISMISSED pursuant to Federal Rule of

19 Criminal Procedure 48(a).

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21         IT IS SO ORDERED.
22   Date: September 12, 2013
23   _____________________________________
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                                                 ___________________________________________
25                                               MORRISON C. ENGLAND, JR., CHIEF JUDGE
                                                 UNITED STATES DISTRICT COURT
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